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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

 MIRANDA ANTHONY,                              )
 c/o Cornerstone Law Firm                      )
 5821 NW 72nd Street                           )
 Kansas City, MO 64151                         )
                                               )
                Plaintiff,                     )          Case No.
                                               )
        v.                                     )
                                               )          REQUEST FOR JURY TRIAL
 ORION PROPERTY GROUP, LLC,                    )
 Serve Registered Agent:                       )
 Michael Napovanice                            )
 8826 Santa Fe Drive, Suite 190                )
 Overland Park, KS 66212                       )
                                               )


                                 COMPLAINT FOR DAMAGES

       COMES NOW, Plaintiff Miranda Anthony, by and through her attorneys, and for her cause

of action against Defendant Orion Property Group, LLC, (hereinafter “Orion” or “Defendant”)

states and alleges as follows:

                                         Introduction

1.     This is an employment case based upon and arising under Title VII of the Civil Rights Act

       of 1964, 42 U.S.C. §§2000 et seq. (“Title VII”).

2.     Because of Defendant’s illegal treatment in the terms, conditions, compensation, and

       privileges of her employment, Plaintiff has been damaged and is seeking all remedies

       available to her.

                                          The Parties

3.     Plaintiff Miranda Anthony (hereinafter, “Plaintiff”) is and was at all relevant times a

       female citizen of Kansas City, Wyandotte County, Kansas.



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4.    Defendant Orion Property Group, LLC (hereinafter, “Defendant” or “Orion”) is and

      was at all relevant times a Kansas limited liability company registered to conduct business

      in the state of Kansas.

5.    On information and belief, at least one LLC member of Orion is, and was at all relevant

      times, a Kansas citizen, including Michael Napovanice.

6.    Orion conducts substantial and continuous business in the State of Kansas.

7.    Specifically, at all relevant times, Orion conducted business at its headquarters located at

      8826 Santa Fe Drive #190, Overland Park, KS 66212, where Plaintiff formerly worked.

8.    Additionally, Orion manages and leases residential and commercial properties located in

      the State of Kansas.

9.    At all relevant times, Orion employed fifteen (15) or more employees.

10.   Orion is an “employer” within the meaning of Title VII.

11.   Orion is an entity which acts through its agents. It is liable for the conduct of its agents

      acting within the course and scope of their agency, its own negligence, the acts of its agents

      which it knowingly ratifies, injuries incurred by agents’ performance of its non-delegable

      duties, acts done by agents for which the agency relationship allows or assists the agent to

      perform, and acts taken by its agents by virtue of their position with Orion.

                                    Jurisdiction and Venue

12.   Jurisdiction is proper in the District of Kansas pursuant to 28 U.S.C. § 1331, as some or all

      of Plaintiff’s claims arise under the laws of the United States.

13.   Venue is proper in the District of Kansas pursuant to 28 U.S.C. § 1391 because a substantial

      portion of the alleged discriminatory conduct occurred in this District, including Plaintiff’s

      wrongful termination.



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                                     Administrative Procedures

14.   On or about May 28, 2021, Plaintiff timely filed a Charge of Discrimination with the Equal

      Employment Opportunity Commission (“EEOC”) naming Orion as the Respondent,

      alleging discrimination based on her sex (female) and her status as a pregnant woman

      (attached as Exhibit 1 and incorporated herein by reference).

15.   On or about November 23, 2021, the EEOC issued to Plaintiff a Notice of Right to Sue

      (attached as Exhibit 2 and incorporated herein by reference).

16.   This lawsuit is filed within ninety (90) says of the issuance of the Notice of Right to Sue

      by the EEOC.

17.   The aforesaid Charge of Discrimination provided the EEOC sufficient opportunity to

      investigate the full scope of the controversy between the parties and, accordingly, the

      sweep of this judicial complaint may be as broad as the scope of an EEOC investigation

      which could reasonably be expected to have grown out of the Charge of Discrimination.

18.   Plaintiff has satisfied all private, administrative, and judicial prerequisites to the institution

      of this action.

19.   This action is timely filed within the applicable statute of limitations.

                                   Additional Factual Allegations

20.   Plaintiff is female.

21.   On or about March 18, 2021, Orion hired Plaintiff as the Administrative Assistant to its

      President, Michael Napovanice (“President Napovanice”) (male).

22.   On or about April 3, 2021, President Napovanice promoted Plaintiff to the position of

      Marketing Manager.

23.   Plaintiff started in her new managerial role on or about April 4, 2021.



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24.   As Marketing Manager, Plaintiff still reported directly to President Napovanice.

25.   Plaintiff’s new job duties included, but were not limited to, updating pictures of properties

      for Orion’s website, creating new websites for properties, changing the rent rates for

      properties, creating flyers for open houses, and responding to online reviews.

26.   Orion did not inform Plaintiff of any performance-related issues as Marketing Manager.

27.   On or about April 29, 2021, President Napovanice booked a marketing training conference

      for Plaintiff to attend in California.

28.   On or about May 2, 2021, Plaintiff learned she was pregnant.

29.   On or about May 3, 2021, Plaintiff informed President Napovanice of her pregnancy, and

      he congratulated her.

30.   During this conversation, Plaintiff told President Napovanice that her mother advised

      Plaintiff to wait to disclose her pregnancy because she only recently started in her role as

      Marketing Manager.

31.   President Napovanice responded by telling Plaintiff that Respondent previously hired a

      pregnant woman, but he “just thought she was fat.”

32.   Plaintiff interpreted this to mean that President Napovanice would not have hired the

      employee if he knew about her pregnancy beforehand.

33.   Plaintiff then mentioned maternity leave and the possibility of working from home when

      necessary due to her pregnancy, but President Napovanice brushed it off and said they had

      “plenty of time” to figure that out.

34.   On information and belief, Orion permitted Plaintiff’s colleagues who were male, or female

      but not pregnant, to work from home or attend meetings remotely via Zoom.




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35.   Before Plaintiff disclosed her pregnancy, President Napovanice said she would receive a

      performance review after her first three (3) weeks as Marketing Manager, on or about May

      5, 2021.

36.   The review meeting on May 5, 2021, did not take place.

37.   On or about May 6, 2021, Plaintiff reminded President Napovanice of her performance

      review, but he just casually told her, “You’re doing great.”

38.   On or about May 7, 2021, Training Manager Tiffany Buescher (“Training Manager

      Buescher”) sent a letter to all staff announcing that Plaintiff and her husband were

      expecting a baby.

39.   However, after Plaintiff told President Napovanice she was pregnant, he was short with her

      or avoided speaking to her altogether, which hindered her ability to perform her job duties.

40.   On or about May 24, 2021, President Napovanice called Plaintiff into his office, with

      Human Resources Coordinator Richelle Johansen (“H.R. Coordinator Johansen”) also

      present.

41.   President Napovanice told Plaintiff she was fired, allegedly because Orion was

      “eliminating” the Marketing Manager position.

42.   When Plaintiff asked whether she had done anything wrong as Marketing Manager,

      President Napovanice said no.

43.   However, in Orion’s position statement submitted to the EEOC dated July 6, 2021, it

      claimed that it terminated Plaintiff allegedly because “she refused to follow direction,

      demanded preferential treatment despite her status as both a new-hire and essential worker,

      performed poorly, and made comments that caused her co-workers, including members of

      management, to feel uncomfortable in the workplace.”



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44.         During Plaintiff’s employment with Orion, she never received written discipline.

45.         Notably, the Administrative Assistant position for which Orion originally hired Plaintiff

            remained open, yet Orion did not offer her that position.

46.         After Plaintiff’s termination, she called President Napovanice twice to ask about the open

            Administrative Assistant position, but he did not answer.

47.         On information and belief, Orion’s proffered reasons for terminating Plaintiff’s

            employment are pretextual, and the true reasons are unlawful discrimination based on her

            sex and/or status as a pregnant woman, as set forth below.

                                               COUNT I
                           Violation under 42 U.S.C. §§ 2000e et seq. (Title VII)
                             Sex Discrimination (Pregnancy)—Termination

      48.    Plaintiff re-alleges and incorporates herein by reference, as though fully set forth herein,

             all of the above numbered paragraphs.

      49.    Plaintiff is a female and therefore a member of a protected class.

      50.    On or about May 3, 2021, Plaintiff informed Defendant that she was pregnant.

      51.    On or about May 24, 2021, Defendant terminated Plaintiff’s employment.

      52.    In terminating Plaintiff’s employment, Defendant subjected Plaintiff to an adverse

             employment action.

      53.    Plaintiff’s pregnancy, and therefore sex, was at least a motivating or determining factor

             in Defendant’s decision to terminate Plaintiff’s employment.

      54.    At all times mentioned herein, before and after, the above-described perpetrators were

             agents, servants, and employees of Defendant, and were at all such times acting within

             the scope and course of their agency and employment, and/or their actions were expressly




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          authorized or ratified by Defendant, thus making Defendant liable for said actions under

          the doctrine respondeat superior.

   55.    Defendant failed to make good faith efforts to establish and enforce policies to prevent

          illegal discrimination against its employees.

   56.    Defendant failed to properly train or otherwise inform its supervisors and employees

          concerning their duties and obligations under the civil rights laws, including Title VII.

   57.    As shown by the foregoing, as a result of her sex and/or pregnancy, and termination based

          on the same, Plaintiff suffered intentional discrimination at the hands of the Defendant

          in violation of Title VII.

   58.    As a direct and proximate result of Defendant’s actions and/or omissions, Plaintiff has

          been deprived of income, as well as other monetary and non-monetary benefits.

   59.    As a further direct and proximate result of Defendant’s actions and/or omissions, Plaintiff

          has suffered humiliation, mental anguish, pain, and a loss of self-esteem in the form of

          garden variety emotional distress and related compensatory damages.

   60.    Defendant’s conduct was willful, wanton, malicious, and showed complete indifference

          to or conscious disregard for the rights of others, including the rights of Plaintiff, thus

          justifying an award of punitive damages in an amount sufficient to punish Defendant or

          to deter Defendant and other entities from like conduct in the future.

   61.    Pursuant to the provisions of Title VII, Plaintiff is entitled to recover reasonable

          attorneys’ fees from Defendant.

         WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

Defendant for economic damages, including but not limited to back-pay and lost benefits; for

compensatory damages, including but not limited to emotional distress; for equitable relief,



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including but not limited to front-pay and injunctive relief; for punitive damages; for reasonable

attorneys’ fees and costs incurred herein; for pre- and post-judgment interest as allowed by law;

and for such and further legal and equitable relief as the Court deems just and proper.

                                         COUNT II
                    Violation under 42 U.S.C. §§ 2000e et seq. (Title VII)
                  Sex Discrimination (Pregnancy)—Hostile Work Environment

   62.   Plaintiff re-alleges and incorporates herein by reference, as though fully set forth herein,

         all of the above numbered paragraphs.

   63.   Plaintiff is a female and therefore a member of a protected class.

   64.   On or about May 3, 2021, Plaintiff notified Defendant that she was pregnant.

   65.   Throughout Plaintiff’s employment, Defendant subjected Plaintiff to severe, pervasive,

         and unwelcome comments and conduct based on her pregnancy, including but not limited

         to: avoiding speaking to Plaintiff; treating Plaintiff less favorably than non-pregnant

         and/or male employees; refusing to provide Plaintiff with formal feedback on her job

         performance; and commenting that although Respondent previously hired a pregnant

         woman, President Napovanice “just thought she was fat,” which offended Plaintiff based

         on her status as a pregnant woman.

   66.   Plaintiff’s sex and/or status as a pregnant woman were at least a motivating factor in the

         hostile work environment to which Defendant subjected Plaintiff.

   67.   The actions and conduct of Defendant’s employees and representative acting within the

         course and scope of their employment created an intimidating, hostile, and offensive

         working environment, and thereby detrimentally affected Plaintiff.

   68.   The harassment and conduct to which Plaintiff was subjected affected a term, condition,

         or privilege of Plaintiff’s employment because the conduct was continuous, outrageous,



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      humiliating and reasonably interfered with Plaintiff’s ability to perform the functions of

      her employment.

69.   The conduct described herein would have offended a reasonable person of the same sex

      and/or who was pregnant, in Plaintiff’s position.

70.   Defendant knew or should have known of the pregnancy-based discrimination and/or

      harassment Plaintiff suffered, including from management-level employee President

      Michael Napovanice, but failed to exercise reasonable care to prevent and promptly

      correct the discrimination/harassment.

71.   At all times mentioned herein, before and after, the above-described perpetrators were

      agents, servants, and employees of Defendant, and were at all such times acting within

      the scope and course of their agency and employment, and/or their actions were expressly

      authorized or ratified by Defendant, thus making Defendant liable for said actions under

      the doctrine respondeat superior.

72.   Defendant failed to make good faith efforts to establish and enforce policies to prevent

      illegal discrimination against its employees.

73.   Defendant failed to properly train or otherwise inform its supervisors and employees

      concerning their duties and obligations under the civil rights laws, including Title VII.

74.   As shown by the foregoing, Plaintiff suffered intentional discrimination at the hands of

      the Defendant in violation of Title VII based on her sex and/or pregnancy.

75.   As a direct and proximate result of Defendant’s actions and/or omissions, Plaintiff has

      suffered humiliation, mental anguish, pain, and a loss of self-esteem in the form of garden

      variety emotional distress and related compensatory damages.




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   76.    By failing to take prompt and effective remedial action, Defendant, in effect, condoned,

          ratified, and/or authorized discrimination against Plaintiff.

   77.    Defendant’s conduct was willful, wanton, malicious, and showed complete indifference

          to or conscious disregard for the rights of others, including the rights of Plaintiff, thus

          justifying an award of punitive damages in an amount sufficient to punish Defendant or

          to deter Defendant and other entities from like conduct in the future.

   78.    Pursuant to the provisions of Title VII, Plaintiff is entitled to recover reasonable

          attorneys’ fees from Defendant.

         WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

Defendant for economic damages, including but not limited to back-pay and lost benefits; for

compensatory damages, including but not limited to emotional distress; for equitable relief,

including but not limited to front-pay and injunctive relief; for punitive damages; for reasonable

attorneys’ fees and costs incurred herein; for pre- and post-judgment interest as allowed by law;

and for such and further legal and equitable relief as the Court deems just and proper.

                    Demand for Jury Trial and Designation of Place of Trial

         Plaintiff requests a trial by jury in Kansas City, Kansas, on all counts and allegations of

wrongful conduct alleged in this Complaint.




                                  (Signatures on Following Page)




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                              Respectfully Submitted,


                              CORNERSTONE LAW FIRM

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